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              IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEORGIA            ZDiOJ 12 PH 4 :07
                          SAVANNAH DIVISION

UNITED STATES OF AMERICA

                                           CASE NO. CR408-315

ANTONIO DAWON WOODLEY,

     Defendant.


                               0 RD E R

     Before the Court is the Magistrate Judge's Report and

Recommendation. (Doc. 775.) In the report, Magistrate Judge

G.R. Smith recommends that Defendant Antonio Dawon Woodley be

found competent to stand trial. Neither Defendant nor the

Government objected to the psychiatric report's conclusion that

Defendant was competent to stand trial.' After a careful review

of the record, the Report and Recommendation of the Magistrate

Judge is ADOPTED as the Opinion of the Court. Accordingly, the

Court finds Defendant competent to stand trial.

     SO ORDERED this         day of January, 2010.




                           WILLIAM T. MOORE, JR.,   IEF JUDGE
                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA



  While Defendant did not stipulate to the psychiatric report's
findings, he declined to offer any objection to the report or
present any additional evidence concerning his competency.
(Doc. 777.)
